attorneys

at law

 

JOLLEY URGA
WOODBURYY LITTLE

3800 HOWARD HUGHES PARKWAY, SUITE 1600, LAS VEGAS, NV 89169

TELEPHONE: (702) 699-7500 FAX: (702) 699-7555

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Case 16-16106-btb Doc15 Entered 12/13/16 11:15:31 Page 1 of 14

Brian E. Holthus, Esq. Efiled: 12/13/16
Nevada Bar No. 2720

Email: beh@juww.com

JOLLEY URGA WOODBURY & LITTLE

3800 Howard Hughes Pkwy., #1600

Las Vegas, Nevada 89169

Telephone: (702) 699-7500

Facsimile: (702) 699-7555

Attorneys for BMW Bank of North America

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: ) Case No. 16-16106-btb
) Chapter 7
ANASTASIA KARAMANIDES, )
)
Debtors. ) Date: 1/23/17
) Time: 10:00 a.m.

 

MOTION FOR RELIEF FROM AUTOMATIC STAY

Secured Creditor BMW Bank of North America (“Secured Creditor”), by and through its
attorney, Brian E. Holthus, Esq. of the law firm of Jolly Urga Woodbury & Little, hereby moves
this Court, pursuant to 11 U.S.C. §362 of the Bankruptcy Code and Bankruptcy Rule 4001, for
relief from the Automatic Stay. In support of its Motion, Secured Creditor represents as follows:

1, Debtor filed a Petition for Relief pursuant to Chapter 7 of the Bankruptcy Code
on November 15, 2016.

2. Secured Creditor is the first lienholder on a 2012 BMW 535i, VIN
WBAFR7C52CC810925 (the “Vehicle’”). A true and correct copy of the Simple Interest Vehicle
Contract and Security Agreement (the “Contract”) is attached hereto as Exhibit B, and a true and
correct copy of the Certificate of Title, showing Secured Creditor as lienholder is attached hereto

as Exhibit C.

Page 1 of 3
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attorneys

at law

 

JOLLEY URGA
WOODBURYY LITTLE

3800 HOWARD HUGHES PARKWAY, SUITE 1600, LAS VEGAS, NV 89169

TELEPHONE: (702) 699-7500 FAX: (702) 699-7555

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Case 16-16106-btob Doc15 Entered 12/13/16 11:15:31 Page 2 of 14

3. Pursuant to the Contract, Debtor is obligated to make monthly payments of
$768.52 on the 11th day of each month and to maintain adequate insurance coverage on the
Vehicle.

4, Debtor has failed to make pre- and post-petition payments to Secured Creditor
and is in default for the May, 2016 payment in the amount of $283.52, along with the June-
November, 2016 monthly payments of $768.52, in the amount of $4,894.64, and attorney’s fees
and costs of $431.00, for a total amount of $5,325.64.

5. Secured Creditor is not being adequately protected because Debtor has not, and it
is believed cannot, provide proof of insurance coverage.

6. The present wholesale value for the Vehicle is $19,446.00 and the net present
balance owed under the Contract is $39,620.59. Debtor has no equity in the Vehicle. Secured
Creditor’s interests are not being adequately protected. The Vehicle continues to rapidly
depreciate and Debtor is not making monthly contractual payments.

7. By virtue of the automatic stay provision of 11 U.S.C. §362 of the Bankruptcy
Code, Secured Creditor has been stayed from pursuing its rights of recovery or possession under
the Contract.

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Page 2 of 3
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attorneys

at law

 

JOLLEY URGA

WOODBURY& LITTLE

3800 HOWARD HUGHES PARKWAY, SUITE 1600, LAS VEGAS, NV 89169

TELEPHONE: (702) 699-7500 FAX: (702) 699-7555

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WHEREFORE, Secured Creditor prays that:

1. The automatic stay pursuant to 11 U.S.C. §362 be terminated as to Alina so as to
allow Secured Creditor to exercise all its rights and remedies available under the Contract and
other applicable law, with a waiver of the 14-day waiting period of Bankruptcy Rule 4001(a)(3).

2. Pursuant to 11 U.S.C. §363(e) that Secured Creditor’s interest in the Vehicle be
given adequate protection.

3. For attorney’s fees and costs.

4, For such other relief as this Court deems necessary.

DATED this 3 day of December, 2016.

JOLLEY URGA WOODBURY & LITTLE

cia

Brian E. Holthus, Esq.

3800 Howard Hughes Pkwy., #1600

Las Vegas, Nevada 89169

Attorneys for BMW Bank of North America

 

Page 3 of 3
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Case 16-16106-btb Doc15 Entered 12/13/16 11:15:31 Page4of14

EXHIBIT A
Letter to Debtor dated November 23, 2016

EXHIBIT A
Letter to Debtor dated November 23, 2016
Case 16-16106-btb Doc15 Entered 12/13/16 11:15:31

JOLLEY URGA | attorneys
R. GARDNER JOLLEY - WOODBURYQ LITTLE | @t !2w

WILLIAM R. URGA
BRUCE L. WOODBURY

 

BRIAN E. HOLTHUS 3800 HOWARD HUGHES PARKWAY
MARTIN A. LITTLE
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DAVID 3. MALLEY LAS VEGAS, NEVADA 89169
MELISSA L. WAITE -
ALEXANDER VILLAMAR TELEPHONE (702) 699-7500
MICHAEL R. ERNST FACSIMILE (702) 699-7555

ns

November 23, 2016

Page 5 of 14

BOULDER CITY OFFICE

1000 NEVADA WAY
SUITE 105
BOULDER CITY, NEVADA
89005
(702) 293-3674

 

BARBARA YAMAMOTO
OFFICE ADMINISTRATOR

 

OF COUNSEL
CHARLES T. COOK
ROGER A. WIRTH

Anastasia Karamanides Lenard E. Schwartzer, Trustee
2722 Port Lewis Avenue 2850 S. Jones Blvd., #1
Henderson, Nevada 89052 Las Vegas, NV 89146

U.S. Trustee - LV -7
300 Las Vegas Blvd. So., #4300
Las Vegas, Nevada 89101

Re: Debtor(s): Anastasia Karamanides
Case No. - BK-16-16106-btb
Our File No. 12218-12029
Vehicle: 2012 BMW 535i; VIN WBAFR7C52CC810925

Dear Ms. Karamanides:

This firm represents the interests of BMW Bank of North America with regard to the
instant Chapter 7 bankruptcy filed by you, designated as Bankruptcy Case No. BK-16-16106-

My client has alleged grounds that constitute the basis for filing a Motion for Relief from
the Automatic Stay against you. Specifically, my client makes the following allegations against

you:

° Failure to remain current with contractual payments from May, 2016 through the

present.

° Failure to provide proof of adequate insurance coverage.

This letter is written pursuant to Local Rule 4001 and is conveyed in an attempt to

resolve the allegations raised by my client without court action. If you would like to attempt to
resolve this matter without court action, please contact my office within three business days of
the date of this letter at the address or phone number contained above. If this law firm does not
receive a response to this letter within three business days of the date of this letter, I must assume
that you have no desire to resolve the allegations raised by my client without court action.
Case 16-16106-btb Doc15 Entered 12/13/16 11:15:31 Page 6 of 14

Anastasia Karamanides
November 23, 2016
Page 2

Consequently, upon the expiration of the stated three business days, my client will immediately
file a Motion for Relief from Automatic Stay in the Bankruptcy Court.

Very truly yours,
JOLLEYJRGA WOQDBURY & LITTLE

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Brian E. Holthts, Esq.

    

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EXHIBIT B

simple Interest Vehicle Contract and
security Agreement

EXHIBIT B

simple Interest Vehicle Contract and
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EXHIBIT C

Certificate of Title

EXHIBIT C

Certificate of Title
Case 16-16106-btb Doc15 Entered 12/13/16 11:15:31 Page 11 of 14

CERTIFICATE OF TITLE

YEAR MAKE MODEL VEHICLE BODY TITLE NUMBER

; HBAFR7CS20C810925 2012 BMW 5351 P4D NV007930805
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07/17/2015 34569 G 4090
q VEHICLE COLOR ODOMETER BRAND BRANDS

ACTUAL MILES

4 OWNER(S) NAME AND ADDRESS
KARAMANIDES ANASTASIA
2722 PORT LEWIS AVE
HENDERSON NV 89052-3891

j LIENHOLDER NAME AND ADDRESS
@ BMW BANK OF NORTH AMERICA
5550 BRITTON PKWY
HILLIARD OH 43026-7456

1 LIENHOLDER RELEASE « INTEREST IN THE VEHICLE DESCRIBED ON THIS TITLE IS HEREBY RELEASED:

SIGNATURE OF AUTHORIZED AGENT DATE

g PRINTED NAME OF AGENT AND COMPANY

y FEDERAL AND STATE LAW REQUIRES THAT YOU STATE THE MILEAGE IN CONNECTION WITH THE TRANSFER OF OWNERSHIP. FAILURE TO
COMPLETE OR PROVIDING A FALSE STATEMENT MAY RESULT IN FINES AND/OR IMPRISONMENT,
fj The undersigned hereby certifies the vehiola described In this tila has been transferred to tha following buyar(e):

 

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PROPOSED ORDER

PROPOSED ORDER
attorneys

at law

 

JOLLEY URGA
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3800 HOWARD HUGHES PARKWAY, SUITE 1600, LAS VEGAS, NV 89169

TELEPHONE: (702) 699-7500 FAX: (702) 699-7555

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Brian E. Holthus, Esq.

Nevada Bar No. 2720

beh@juww.com

JOLLEY URGA WOODBURY &LITTLE
3800 Howard Hughes Pkwy

Wells Fargo Tower, 16th Floor

Las Vegas, Nevada 89169

Telephone: (702) 699-7500

Facsimile: (702) 699-7555

Attorneys for BMW Bank of North America

Page 13 of 14

UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF NEVADA
In re: )
) Chapter 7
ANASTASIA KARAMANIDES, )
)
Debtor. ) Date:
) Time:
[PROPOSED]

Case No. 16-16106-btb

ORDER TERMINATING THE AUTOMATIC STAY

The Motion for Relief having been properly served, with no opposition filed herein, the

court makes its Order as follows:

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Automatic Stay in

the above-entitled Bankruptcy case is hereby terminated as to Debtor and the Trustee in favor of

Secured Creditor, BMW Bank of North America, as it pertains to the following property:

2012 BMW 535i; VIN WBAFR7C52CC810925

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Page 1 of 2

 
attorneys

at law

 

JOLLEY URGA
WoopsurY& LITTLE

3800 HOWARD HUGHES PARKWAY, SUITE 1600, LAS VEGAS, NV 89169

TELEPHONE: (702) 699-7500 FAX: (702) 699-7555

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IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the fourteen (14) day

stay imposed under Bankruptcy Rule 4001(a)(3) is waived.

Submitted by:

JOLLEY URGA WOODBURY & LITTLE

By:

 

Brian E. Holthus, Esq.

3800 Howard Hughes Pkwy. 16th Floor
Las Vegas, Nevada 89169

Attorneys for BMW Bank of North America

RULE 9021 CERTIFICATION

In accordance with LR 9021, counsel submitting this document certifies as follows:

[_ |The court has waived the requirement set forth in LR 9021(b)(1).

EXINo party appeared at the hearing or filed an objection to the motion.

[II have delivered a copy of this proposed order to all counsel who appeared at the hearing,
and each has approved or disapproved the order, or failed to respond, as indicated below:

[_Il certify that this is a case under chapter 7 or 13, that I have served a copy of this order
with the motion pursuant to LR 9014(g), and that no party has objected to the form or content of

the order.

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Page 2 of 2

 
